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FOR THE NORTHERN DISTRICT OF MISSISSIPPI
WESTERN DIVISION
JIMMY DALE HUNSUCKER, UR. PLAINTIFE
e VS. CIVIL ACTION NO. 3:10CVO08-M-A
TIPPAH COUNTY, MISSISSIPPI, et al DEFENDANTS

DEPOSITION OF JEFFERY ROGERS

Taken at the instance of the Plaintiff
on Monday, March 21, 2011,
in the offices of Christi R. McCoy, McCoy Law Firm
° Oxford, Mississippi,
beginning at 8:42 a.m.

(Appearances noted herein.)

REPORTED BY: Desi W. Arnold, CSR 1738

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having first been duly sworn, was examined and
testified as follows:

MR. MULLINS: All right. Before we get
started, we've never had a deposition together,
and I usually do the, quote/unquote, usual
etipulations. ALL objections are reserved except
for the form of the question. And I'm assuming
that the witness wants to read and sign this
deposition?

MS. McCOY: Yes, please.

MR. MULLINS: Anything else before we start?

MR. ALLEN: I don't think so.

MR. MULLINS: ALL right.

EXAMINATION BY MR. MOLLINS:

Q. Could you teli me who you are?

A. Jeff Rogers.

Q. All right. And, Mr. Rogers -- and I might call
A. That's fine.

Q. And TI don't mean any disrespect. I hope that's

A. That's fine.

QO. You are here today as a defendant in the case

filed by Jimmy Hunsucker, Jr. I'm going to be asking you

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aouse of form force that we had to fill out if we had used

the taser.

Q. Okay.
A. I remember that for sure.
Q. All right. I was looking at Exhibit 1. There

was a place to date and sign, and there is no signature
and date on that, correct?

A. Correct.

Q. So I was wanting to know when this policy went

into force.

A. That one I couldn't tell you. I don't remember
no dates.

Q. Okay. That's why I was wondering if your answer
to interrogatory No. 28 -- if there was some confusion

about whether there was a written policy at the time of
Mc. Hunsucker's tasing or whether it came afterwards.

A. To be honest with you, I can't remember.

Oo. All right. Do you recall anything in the jail

itself regarding taser usage?

A. Yes.
Q. All right. Tell me about that.
A. There was a sign hanging up in the booking area

of the jail that said, "If you resist, you will be tased

with the" -- I don't remember exactly what the sign said.

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There was 4 olclure of the taser on tne sign. I remember
that much about it.

Q. Okay. And who put that up?

A. James Page put those signs up. Well, Gary Welch
actually put them up.

Qo. Okay. Who is Gary Welch?

A. He was an officer for Tippah County at one time,
and he was the training officer for the tasers at first.

Oo. And under whose administration did he work?

A. He worked for ~~ the only two I know of for sure

are James and Brandon. Because before that I didn't have
anything to do with them, so I don't know.

Q. When you came to work at Tippah County, was that
sign in the jail?

A, Not at the time when I first started there, no.

Q. So some time during your employment when Sheriff
Page was there is when that sign was erected?

A. I believe it was.

Qa. Okay. And when Brandon Vance took over, the
sign remained?

A. Yes.

Q. What instruction did you, as a Tippah County
sheriff's deputy, get with regards to the policy regarding
that sign?

A. Nobody ever really said anything about the sign

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that I can remember.
QO. And did anybody instruct you, your dad or either
Sheriff Vance or Sheriff Page, as to any limits as to when

a person who is in jail could be tased?

A. I don't remember anybody saying anything.
QO. Regarding somebody who is in a cell, such as
Mr. Hunsucker was in the isolation cell -- which I

understand y'all refer te as the hole, correct?

A. Yes.

QO. All right. Was there ever any prohibition about
using the taser on someone who was in the hole?

A. I never heard.

Q. As a deputy at Tippan County, is it your
understanding that it was acceptable under policy and
procedure to use the taser on someone who was in the hole?

A. Nobody ever said you couldn't, so I thought you
could, yes.

Q. Had it happened before?

A. Not to my knowledge. I don't know.

QO. All right. Your dad, Will Rogers, was the
training officer?

A. Yes.

Q. A good sounding board for you to have as a
deputy at Tippah County would be the training officer,

correct?

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Q. Was your dad aware that, to your knowledge --

A. I can't say anything that -- what he was or was
not aware of.

Q. Did you all, you and your father, ever discuss
the policy -- and this is pricr to Mr. Hunsucker's
incident. Okay? I'm not talking about what y'all
discussed afterwards. Did you ever discuss the policy
about using tasers in the jail with your father?

A. Never came up.

Q. Did you receive any training using the taser
against someone who was already in jail?

A. Never came up.

Q. And I'm talking about with your training through
your dad or any refresher courses or anything.

A. I don't remember the specifics of the test that

we took or any of that.

Oo. Now, as a seven-year deputy at Tippah County --
and I know you were volunteering part time, but you
understand the importance of training for law enforcement
officers, correct?

A. Yes.

Q. And you understand that if you're given a weapon
such as a gun or OC spray or, in this case, a taser, that

you should be trained on it?

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Qo. And that the policies that you are working under
should be clear to you, correct?

A. Yes.

Q. Do you feel, as a deputy, that the policy
regarding the use of the taser in the jail -- the sign in

the Tippah County jail, was clear to the deputies?

A. T can't say what anybody elise thought. The
signs was up there. If thought it was okay to use them.

QO. But you were never given any limits at ali?

A. Just as long as they were resisting.

QO. And resisting, to you, would be what in that

situation?
A. As long as they're actively trying to fight

back, or as long as they're actively trying to fight with

you.
Q. How about failing to comply with orders?
A. That can be resisting, yes.
Q. Such as not taking off your clothes?
A. If that was failure to comply, yes.
Q. And I use that in the context. Mr. Hunsucker

was put in the hole --
A. I understand where that comes from.
QO. All right. And there was some indication ~-—

part of the policy and procedure, when someone at Tippah

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Me Redd YP CGY iat Le GO peu 4d GAC el ee
A. Put in their underwear.
QO. And your understanding of the sign in the Tippah

County Sheriff's Department, if the inmate, specifically
Mr. Hunsucker, did not take their clothes off as required,
taser use would be appropriate; is that correct?

A. It could have been, yes.

Q. To your understanding, Sheriff Page or Sheriff
Vance, were they aware that the taser was being used in
the jail?

A. To my understanding, I really don't know how to
answer that. Because you're asking me to answer if they
were aware of something that I don't know if they were or
were not.

Q. What I mean is, did there ever come a time
during your tenure at Tippah County where you had meetings
to discuss when it was appropriate to use a taser in the
jail cell and the sheriffs, either Page or Sheriff Vance,
were there at these meetings?

A. We had meetings and classes, but, specifically,
on the taser use in the jail, I don't remember any
specific use --

QO. Other than this incident with Mr. Hunsucker,
were you personally aware of any other inmates who were

tased in Tippah County jail?

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A. T canit
might have been. There might not have been. I don't
remember.

oO. Understand I don't want you to guess or
speculate.

A. yes. I don't remember. So I can't really say
yes or no.

Q. But, you know, if you qualify an answer, say,
"I'm going to speculate or" -- that's fine. And I want
you to understand I'm not going to hold you to that, but
if you can speculate or guess or rumor or hearsay, that's
fine in this deposition. Okay? Understand?

A. Yeah.

QO. The taser usage that you and your father used on
Mr. Hunsucker, did you feel, based on your training and
experience and the policies and procedures in Tippah

County, that you and your father were acting

compliantly --
A. At the time, yes.
QO. -- with the Tippah County policy?

A. At the time, yes.

Q. You say “at the time." Has something changed?

A. No. I'm just saying, at the time, that's what
we thought was the best option.

Q. And as a matter of fact, did you personally ever

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five seconds?

A. I couldn't disagree with you because | don't
remember.

Q. Okay. Do you know how long you used a cycle on
Mr. Hunsucker in this case, the one particular incident?

A. Tim not positive, but I believe the taser said
it was -~ it was over 10 seconds on one of them. I don't
remember the exact time.

Q. Well, I'm going to show you the taser download
for the taser that you were using that evening. And it
says that it was 17 seconds on this. Does that sounds
vight?

A. I believe that's what I remember.

Q. Let me go ahead and let you see this and see LE

you recognize that.

A. I don't read these downloads.

Q. I think this was provided in your criminal
discovery, and I think Christi is showing you the date and

time, and it states the duration of 17 seconds; is that

correct?
A. (Witness reviewing document. }
Q. Is that correct?
A. Yes, that's correct.

Q. All right.

MR. MULLINS: Let's go ahead and get this

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don't know

A. Yea. I really don't know.

QO. All right. Now, according to the taser
download, on Exhibit 3 -- and I'm going to let you look at
this -- there was a taser usage at 5:33 for one second.
Let me let you look at that. That's on page --

A. I saw it. It was the very first one.

Oo. Okay. Are you sure about that? Let me let you
look at it.

A. IT think it was. That was the first one. No,
there was another one earlier on that page. That
weapon -~ was having trouble with it, so we would pull the
cartridge off and check to make sure it was working.
That's the one-second. And then you cut it off.

Q. That's your sparking?

A. Spark, yes.

OQ. Okay. And so that's when you test the weapon?

A. Yes.

QO. So that wasn't one of the deployments?

A. No.

Q. Okay. So disregarding that first usage, there

were three usage on Mr. Hunsucker on this weapon. One was
for 17 seconds, correct?
A, Correct.

QO. The other was five?

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A. COrFect.

g. And another --

A. That's a different day.

Q. Is that a different day? Make sure you and I
are looking at the same thing. This was five?

A. Yeah.

Q. Okay. And this last one's a different day?

A. That's what -- that's the date right there,
6/14.

a. Okay. So you only nad two usage on
Mr. Hunsucker?

A. Yes.

Q. A l?-second cycle and then a five-secona cycle?

A. Yes.

QO. When we see this download, that's when the
prongs go in, correct?

A. No.

oO. Okay. Tell me what this is showing me.

A. No. That was a drive stun.

Q. Okay.

A, The cartridge was taken off, and I took the
weapon and stuck it to him.

Q. Okay. Well, let me ask you this: Did you ever

use it with prongs in Mr. Hunsucker?

A. No.

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Jelye covered that?

A Yes

Qo. And according to your dad, Sheriff Vance told
your dad to take Mr. Hunsucker to the hole after the DUI
and booking progress was complete?

A. yes.

Q. All right. Tell me what happened after ne
refused to take the intoxilyzer test.

A. We escorted him back to the isolation cell, the
hole.

Q. And when you say, “we,” it was you and your dad?

A. Yes.

QO. And was Jimmy handcuffed at this time?

A. No.

QO. Now, during the encounter with you and Jimmy,
from start to end, you were -- and let me preface this by

saying I read over the prosecutor at the Justice Court,
his interview with the FBI, and according to his notes,
that he had talked with you. And you had informed them
that you were not physically harmed during the altercation
with Jimmy Hunsucker; is that correct?

A. Correct.

QO. And that you were never in fear of imminent,
serious bodily injury; is that correct?

A, Correct.

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Oo. When did you assist your dad in taking Hunsucker
back to the hole?
A. When he made it through the doorway out of the

booking area inte the hallway.

Q. Ali right. And teli me what you did.

A. IT walked beside Mr. Hunsucker until we got to
the door te the cell area, and then we started in towards
the cell, and he grabbed the door and then the wall, and
that's when I grabbed him trying to spin him around, get
him loose from the door where we could put him in there.

Qo. All right. From the time Mr. Hunsucker left the
intoxilyzer room until he got to the hole, was he
compliant?

A. Be wasn't. He was just cussing and raising
hell, being obnoxious.

Q. Okay. And f guess what I'm staying, he wasn't
fighting with y'all down the hall?

A.. No.

Q. All right. He was still mouthing off, but he
wasn't resisting you in any way?

A. Nothing more than being obnoxious at the time.

Q. Okay. And when you get back, you have to ge
through the control door, correct?

A. (Witness nodding head. }

Q. And the control door, you're buzzed in by the

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MR, MULLINS: And then the Pannell 302 we'll

make Exhibit 7.

(Exhibit 7 marked for identification and

attached hereto.}
BY MR. MULLINS:

Q. While you were observing Mr.

Hunsucker in the

intoxilyzer room, did you observe any officer beat,

strike, or taser him?
A. No.

o. Have you spoken with -- other

than your dad --

any of the other officers who were present, since this

incident?

A. I'm sure I've spoken with them, but I don't
remember --

o. Did you talk about what happened?

A. IT can't remember talking with them about what

happened, no.

oO. Your use of force report that
filled out -- you did not fill that out

cid you?

A. No, I didn't.
Q. And at what time did you fill

A. It was after I spoke with the

you actually

immediately after,

ii out?

FBI investigator.

Q. Why did you wait so long to fill out a use of

